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    UNITED STATES DISTRICT COURT
    NORTHERN DISTRICT OF NEW YORK
    ___________________________________________


    UNITED STATES OF AMERICA,


    v.                                                          5:05-CR-322-006
                                                                (NAM)


    JERRAWN LAMARR THOMAS,
N




                                      Defendant.
    ___________________________________________


                                               ORDER

           On December 7, 2005, the Court received a motion from Defendant Jerrawn Lamarr

    Thomas entitled “Motion to Provide for Inspection of Jury List in Support of a Future Motion to
A




    Dismiss Grand Jury Indictment Pursuant to Title 28 U.S.C. § 1867 (a) and (f).” There is no

    indication in the motion papers, or elsewhere in the record, that Craig Schlanger, Esq., who was

    assigned as defense counsel, is no longer representing defendant. Defendant is advised that all

    submissions must be filed by defense counsel. Accordingly, the Court hereby rejects

    defendant’s motion.
M




           IT IS SO ORDERED.
